      Case 2:23-cv-02224-MSN-atc        Document 246       Filed 11/26/24     Page 1 of 5
                                        PageID 2747



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


 ROW VAUGHN WELLS, INDIVIDUALLY                    )
 AND AS ADMINISTRATRIX OF THE                      )
 ESTATE OF TYRE DEANDRE NICHOLS,                   )
 DECEASED,                                         )
                                                   )
         Plaintiffs,                               )
                                                   )
 v.                                                )    CASE NO. 2:23-CV-02224
                                                   )    JURY DEMAND
 THE CITY OF MEMPHIS, A                            )
 MUNICIPALITY; CHIEF CERELYN DAVIS,                )
 IN HER OFFICIAL CAPACITY; EMMITT                  )
 MARTIN III, IN HIS INDIVIDUAL                     )
 CAPACITY; DEMETRIUS HALEY, IN HIS                 )
 INDIVIDUAL CAPACITY; JUSTIN SMITH,                )
 IN HIS INDIVIDUAL CAPACITY;                       )
 DESMOND MILLS, JR. IN HIS INDIVIDUAL              )
 CAPACITY; TADARRIUS BEAN, IN HIS                  )
 INDIVIDUAL CAPACITY; PRESTON                      )
 HEMPHILL, IN HIS INDIVIDUAL                       )
 CAPACITY; ROBERT LONG, IN HIS                     )
 INDIVIDUAL CAPACITY; JAMICHAEL                    )
 SANDRIDGE, IN HIS INDIVIDUAL                      )
 CAPACITY; MICHELLE WHITAKER, IN                   )
 HER INDIVIDUAL CAPACITY; DEWAYNE                  )
 SMITH, IN HIS INDIVIDUAL CAPACITY                 )
 AND AS AGENT OF THE CITY OF                       )
 MEMPHIS,                                          )
                                                   )
         Defendants.                               )


       DEFENDANT CITY OF MEMPHIS’S MOTION TO MODIFY THE SECOND
           AMENDED SCHEDULING ORDER PURSUANT TO ECF NO. 201


        Defendant City of Memphis (the “City”) moves this Court for an Order granting the Joint

Motion to Modify the Second Amended Scheduling Order. (ECF No. 201.) In support of this

Motion, the City states as follows:
    Case 2:23-cv-02224-MSN-atc           Document 246        Filed 11/26/24     Page 2 of 5
                                         PageID 2748



       1.      Plaintiff filed her Complaint in this action on April 19, 2023. (ECF No. 1.)

       2.      This Court entered the original Scheduling Order on September 21, 2023. (ECF

No. 111.) On January 23, 2024, upon an unopposed motion by Plaintiff, this Court entered a

First Amended Scheduling Order (“Amended Scheduling Order”). (ECF No. 151.) On April 26,

2024, upon a second unopposed motion by Plaintiff, this Court entered a Second Amended

Scheduling Order (“Second Amended Scheduling Order”). (ECF No. 185.)

       3.      Pursuant to the Second Amended Scheduling Order, the operative final deadlines

for this matter are as follows:

       COMPLETING ALL DISCOVERY: August 30, 2024

               (a) DOCUMENT PRODUCTION AND INTERROGATORIES: July 2, 2024

               (b) DEPOSITIONS: August 30, 2024

               (c) REQUESTS FOR ADMISSIONS: July 2, 2024

       EXPERT WITNESS DISCLOSURE PURSUANT TO FED. R. CIV. P. 26(A)(2):

               (a) DISCLOSURE OF PLAINTIFF’S (OR PARTY WITH BURDEN OR
               PROOF) RULE 26(A)(2) EXPERT INFORMATION: September 2, 2024

               (b) DISCLOSURE OF DEFENDANT’S (OR OPPOSING PARTY) RULE
               26(A)(2) EXPERT INFORMATION: October 1, 2024

               (c) EXPERT WITNESS DEPOSITIONS: November 1, 2024

       MOTIONS TO EXCLUDE EXPERTS/DAUBERT MOTIONS: December 2, 2024

       SUPPLEMENTATION UNDER RULE 26(E)(1): October 4, 2024
       FILING DISPOSITIVE MOTIONS: October 28, 2024

       JOINT PROPOSED PRETRIAL ORDER DUE: March 7, 2025

       PRETRIAL CONFERENCE DATE: March 14, 2025

       JURY TRIAL: March 24, 2025

       4.      Defendants Tadarrius Bean, Justin Smith, Demetrius Haley, and Emmitt Martin III

all have state criminal prosecutions pending for alleged violations of state law. Defendants Bean,

                                                2
    Case 2:23-cv-02224-MSN-atc           Document 246        Filed 11/26/24      Page 3 of 5
                                         PageID 2749



Justin Smith, and Haley will be tried separately from Defendant Martin. The two state criminal

trials will be held in April 2025.1

       5.      On September 21, 2023, this Court entered an Order staying this case as to

Defendants Haley, Martin, Mills, Bean, and Justin Smith. (ECF No. 110.)

       6.      Under the Second Amended Scheduling Order, the trial would begin on March 24,

2025, which would be prior to the conclusion of the state criminal cases against Defendants

Bean, Justin Smith, Haley, and Martin.

       7.      On July 18, 2024, the parties to this action filed a Joint Motion to Modify the

Second Amended Scheduling Order (“Joint Motion”). (ECF No. 201.) Under this Joint Motion,

the Scheduling Order would be modified as follows:

       COMPLETING ALL DISCOVERY: December 30, 2024

               (a) DOCUMENT PRODUCTION AND INTERROGATORIES: November 1,
               2024

               (b) DEPOSITIONS: December 30, 2024

               (c) REQUESTS FOR ADMISSIONS: November 1, 2024

       EXPERT WITNESS DISCLOSURE PURSUANT TO FED. R. CIV. P. 26(A)(2):

               (a) DISCLOSURE OF PLAINTIFF’S (OR PARTY WITH BURDEN OR
               PROOF) RULE 26(A)(2) EXPERT INFORMATION: January 20, 2025

               (b) DISCLOSURE OF DEFENDANT’S (OR OPPOSING PARTY) RULE
               26(A)(2) EXPERT INFORMATION: February 17, 2025

               (c) EXPERT WITNESS DEPOSITIONS: March 17, 2025

       MOTIONS TO EXCLUDE EXPERTS/DAUBERT MOTIONS: April 18, 2025

       SUPPLEMENTATION UNDER RULE 26(E)(1): January 30, 2025



1
 See Deja Davis & Jessica Knox, Ex-officers face separate state trials in Tyre Nichols case,
WREG MEMPHIS (Nov. 25, 2024, 4:36 PM), https://wreg.com/news/local/tyre-nichols/former-
mpd-officers-in-tyre-nichols-case-back-in-court/.
                                               3
    Case 2:23-cv-02224-MSN-atc          Document 246       Filed 11/26/24     Page 4 of 5
                                        PageID 2750



       FILING DISPOSITIVE MOTIONS: April 4, 2025

       RESPONSES TO DISPOSITIVE MOTIONS: May 2, 2025

       REPLIES TO DISPOSITIVE MOTIONS: May 16, 2025

       JOINT PROPOSED PRETRIAL ORDER DUE: TBD

       PRETRIAL CONFERENCE DATE: TBD

       JURY TRIAL: TBD, approximately Summer 2025. Trial is anticipated to last
       approximately 15 days.

       8.     The City requests that this Court grant its Motion for Modified Scheduling Order

and enter a Third Amended Scheduling Order in this case, consistent with the dates proposed

above and in the previously filed Joint Motion. (ECF No. 201.)

       Dated: November 26, 2024.

                                                   Respectfully submitted,

                                                   BAKER, DONELSON, BEARMAN,
                                                   CALDWELL & BERKOWITZ, P.C.

                                                   s/ Bruce McMullen
                                                   Bruce McMullen (#18126)
                                                   Jennie Vee Silk (#35319)
                                                   Freeman B. Foster (#23265)
                                                   165 Madison Avenue, Suite 2000
                                                   Memphis, Tennessee 38103
                                                   Telephone: (901) 526-2000
                                                   bmcmullen@bakerdonelson.com
                                                   jsilk@bakerdonelson.com
                                                   ffoster@bakerdonelson.com

                                                   Attorneys for Defendant City of Memphis,
                                                   Chief Cerelyn Davis in her Official
                                                   Capacity, and Dewayne Smith as Agent of
                                                   the City of Memphis




                                               4
    Case 2:23-cv-02224-MSN-atc            Document 246         Filed 11/26/24      Page 5 of 5
                                          PageID 2751



                             CERTIFICATE OF CONSULTATION

         I, Bruce McMullen, certify that on November 25, 2024, counsel for the City conferred
with counsel for the parties via email, requesting that the parties make clear their position on the
relief requested in this Motion. In response, Sarah Raisch, counsel for Plaintiff proposed
submitting a Motion for modified scheduling order with dates other than those in this Motion.
Accordingly, Plaintiff is opposed to the relief sought herein. A chart detailing Plaintiff’s
response, as well as the response of the other parties, is below:

                    Party             Responding Counsel             Opposition?
              Plaintiff           Joshua Levin                      Yes
              Long                No response
              Hemphill            Betsy McKinney                    No
              D. Smith            Betsy McKinney                    No
              Whitaker            No response
              Sandridge           No response
              Haley               No response
              Bean                No response
              Martin III          No response
              Mills, Jr.          No response
              J. Smith            Martin Zummach                    No



                                                      s/ Bruce McMullen
                                                      Bruce McMullen

                                 CERTIFICATE OF SERVICE
       The undersigned hereby certifies that a copy of the foregoing has been served upon all
counsel of record and the Guardian Ad Litem via the Court’s electronic filing system on
November 26, 2024.
                                                    s/ Bruce McMullen
                                                    Bruce McMullen




                                                 5
